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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                      )      Case No. 1:01 CR 00408-007
                                               )
                Plaintiff,                     )      Judge Peter C. Economus
                                               )
         vs.                                   )      REPORT AND RECOMMENDATION
                                               )           OF MAGISTRATE JUDGE
NATHANIEL McKINNEY,                            )
                                               )
                Defendant.                     )      Magistrate Judge James S. Gallas
                                               )


         Pursuant to the May 12, 2005 order of Judge Peter C. Economus, a warrant for the arrest

of defendant Nathaniel McKinney was issued for cited violations of supervised release as

reported by defendant’s probation officer, Thomas F. Shepherd. The matter was referred to the

undersigned to conduct revocation proceedings under Fed. R. Cr. P. 32.1, except sentencing.



         Defendant was arrested and appeared for initial hearing before Magistrate Judge

McHargh where preliminary and detention hearings were waived. A revocation hearing was

scheduled before the undersigned on December 8, 2005.



         At the hearing before the undersigned on December 8, 2005 the defendant was found

to be indigent and Attorney Joseph Gardner was appointed to represent the defendant. Also

present were Probation Officer Donald Stranahan and Assistant U.S. Attorney Mr. Thomas

Bauer.
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                                                2

        Probation Officer Stranahan read for the record the following violations of supervised

release:

        1.      Failure to report to the Probation Office as instructed.

        2.      Failure to Pay Restitution.

        3.      Failure to Submit Written MSR’s.

        4.      Failure to Notify of Change of Residence.


        After an opportunity to consult with counsel, defendant admitted in open court to the

violations as stated in the report.



        In accordance with the provisions of 18 U.S.C. §3583(e) the undersigned finds that the

defendant has violated conditions of his supervised release and defendant is ordered to appear

before the Honorable Peter C. Economus for sentencing at a date to be scheduled.


                                                         s/James S. Gallas
                                                       United States Magistrate Judge

Dated: December 9, 2005
